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10
     Attorneys For Plaintiffs Dell Inc. and Dell Products L.P.
11
                                UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
13
     In re: CATHODE RAY TUBE (CRT)
14   ANTITRUST LITIGATION
                                                       Master File No. 3:07-cv-05944-SC (N.D. Cal.)
     This Document Relates to Individual Case No.      MDL No. 1917
15

16   3:13-cv-02171-SC

17
     DELL INC. and DELL PRODUCTS L.P.,                 Individual Case No. 3:13-cv-02171-SC
18
            Plaintiffs,
19
            v.                                         STIPULATION AND [PROPOSED]
20                                                     ORDER REGARDING SCHEDULING
     HITACHI, LTD., et al.,
21
            Defendants.
22
            Plaintiffs Dell Inc. and Dell Products L.P. (collectively “Dell”) and Defendants
23
     Koninklijke Philips N.V. and Philips Electronics North America Corporation (collectively
24
     “Philips”) have conferred by and through their counsel and, subject to the Court’s approval,
25
     HEREBY STIPULATE AS FOLLOWS:
26
            WHEREAS, on July, 30 2014, Dell served its Second Set of Interrogatories and Second
27
     Set of Requests for Production on Philips.
28


     STIPULATION AND [PROPOSED] ORDER                                                 Case No. 07-5944
     REGARDING SCHEDULING                                                              MDL NO. 1917
       Case 3:07-cv-05944-JST Document 2889 Filed 10/02/14 Page 2 of 3



 1
               WHEREAS, Philips responded and objected to Dell’s Second Set of Interrogatories and
 2
     Second Set of Requests for Production on September 2, 2014.
 3
               WHEREAS, Philips objected to Dell’s Second Set of Interrogatories on the basis that Dell
 4
     had exceeded its allotted 25 interrogatories as provided for under Federal Rule 33.
 5
               WHEREAS, other plaintiffs in the above-stated action have received discovery responses
 6
     with similar objections and intend to file motions to compel with the Special Master challenging
 7
     the defendants’ calculation of the number of interrogatories received from the plaintiffs groups.
 8
               WHEREAS, September 5, 2014 was the deadline to complete fact discovery in the Dell
 9
     action.
10
               WHEREAS, September 12, 2014 is the deadline for all parties to object to or move to
11
     compel additional responses for all written discovery responses in the Dell action.
12
               WHEREAS, Dell and Philips have agreed to await the Special Master’s ruling on the
13
     proper method of calculating the number of interrogatories under Federal Rule 33 before
14
     evaluating whether Philips is required to provide more substantive responses to Dell’s Second Set
15
     of Interrogatories.
16
               NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between counsel
17
     as follows: the deadline for Dell to move to compel additional responses for written discovery in
18
     the Dell action with respect to Dell’s Second Set of Interrogatories shall be moved to fourteen
19
     days after any order by the Special Master addressing the proper method of calculating the
20
     number of interrogatories under Federal Rule 33. All other dates in the Scheduling Order are
21
     unaffected by this stipulation.
22                                                                               ISTRIC
                                                   * * *                    TES D      TC
23                                                                        TA
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                                                                     S




               The undersigned parties jointly and respectfully request that the Court enter this
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                                                                    ED




                                                                                                    RT




24
                                                                                   VED
                                                                UNIT




     stipulation as an order.
25                                                                            APPRO
                                                                                                       R NIA




     PURSUANT TO STIPULATION, IT IS SO ORDERED.
26
                                                                                         onti
                                                                NO




                                                                                 amuel C
27                                                                       Judge S
                                                                                                      FO




          October 2, 2014
     Dated:___________________                          ______________________________________
                                                                  RT




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28                                                                  Hon. Samuel Conti
                                                                         ER
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                                                        2                         D IS T IC T O
     STIPULATION AND [PROPOSED] ORDER                                                   R     Case No. 07-5944
     REGARDING SCHEDULING                                                                        MDL NO. 1917
       Case 3:07-cv-05944-JST Document 2889 Filed 10/02/14 Page 3 of 3



 1                                                              United States District Judge

 2
     DATED: September 12, 2014                   ALSTON & BIRD LLP
 3
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                                                   Counsel for Koninklijke Philips N.V. and Philips
18                                                 Electronics North America Corporation
19
                                                 * * *
20

21          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this

22   document has been obtained from each of the above signatories.

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                                                      3
     STIPULATION AND [PROPOSED] ORDER                                                     Case No. 07-5944
     REGARDING SCHEDULING                                                                  MDL NO. 1917
